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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                             )
DONNA GAVIN                                  )
                                             )
       Plaintiff,                            )
                                             )      C. A. No. 1:18-cv-10819-LTS
       v.                                    )
                                             )
CITY OF BOSTON and MARK                      )
HAYES                                        )
                                             )
       Defendants.                           )
                                             )


            PLAINTIFF DONNA GAVIN’S MOTION IN LIMINE
         TO PRECLUDE TESTIMONY AND EXHIBITS REGARDING
THE INTERNAL AFFAIRS’ REPORTS AND FINDINGS CONCERNING THE PARTIES

       Plaintiff Donna Gavin (“Gavin”) moves in limine that the Court preclude Defendants City

of Boston (“City”) and Mark Hayes (“Hayes”) (collectively, “Defendants”) from introducing

evidence – whether testimonial or documentary – related to the investigation, reports and findings

of the Internal Affairs Division (“IA”) of the Boston Police Department (“BPD”) concerning

Gavin’s IA complaint against Hayes and Hayes’s retaliatory complaint against Gavin. This motion

is necessary because Defendants seek to introduce evidence concerning the BPD’s biased and self-

serving IA reports and findings which exonerate Hayes and condemn Gavin for myriad alleged

incidents of professional misconduct and dishonesty. The IA reports and findings are based largely

on witness interviews and, thus, consist almost entirely of hearsay that is not admissible in this

case through any evidentiary exception. Further, these documents are not admissible pursuant to

FRE 803(8) because they are not trustworthy. They were prepared in anticipation of litigation

after Gavin had both threatened to file and filed her civil discrimination complaint at the

Massachusetts Commission Against Discrimination (“MCAD”).
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         Because these documents consist of inadmissible hearsay and are self-serving and biased,

designed to exculpate Hayes and the City from any potential liability, this Court should exclude

them and any witnesses who might seek to testify about their contents at trial. The issues raised

in the IA reports and findings are at the heart of the pending case before this Court, and the jury

should resolve these fact issues based upon a trial where witnesses with personal knowledge may

be cross-examined. Any other result would violate Rule 403.

    I.      Procedural Background
         Gavin filed her initial IA Complaint with the BPD on April 24, 2017. Hayes filed his

retaliatory IA Complaint on May 8, 2017. On May 23, 2017, Gavin commenced a civil claim for

discrimination, hostile work environment and retaliation against Defendants at the MCAD. On or

about March 16, 2018, Gavin removed her case from the MCAD and filed her Complaint against

Defendants in Massachusetts Superior Court. Defendants then removed the state case to this Court

on April 27, 2018.

         The BPD IA Division conducted their investigation of the IA Complaints over a period of

nearly two years after the Complaints were filed. The investigative interviews began on or about

May 31, 2017 and continued intermittently through the end of that year – approximately seven

months. The IA did not conclude its investigation until in or about September-October 2018, when

Lieutenant Detective Adrian Troy issued the IA reports to Deputy Superintendent Jeffrey Walcott.

See COB10868-10893 (September 18, 2018 findings based on complaint against Hayes),

COB10826-10865 (October 16, 2018 findings based on complaint against Gavin).1 The BPD did


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  These reports followed preliminary reports with alleged factual findings by Sergeant Detective
Richard Dahill of Internal Affairs which he completed on May 15, 2018, concerning the complaint
against Hayes (COB9676-10088) and August 21, 2018, concerning the complaint against Gavin
(COB9279-9674). Defendants do not seek to introduce the underlying alleged factual findings by
Dahill on which the reports and findings they do seek to admit are based. This puts in doubt
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not make final findings until on or about July 2, 2019, when the BPD Commissioner endorsed the

recommendations of Deputy Superintendent Jeffrey Walcott. See COB9675, COB10866-10867.

         On Friday, September 17, 2021, Defendants included in their proposed trial exhibit lists

the following documents which constitute the IA reports and findings at issue here: COB10824-

10825, COB10826-10865, COB9278, COB10866-10867, COB10868-10893, COB9675,

COB4481.

         On the same date, Defendants also included the following individual BPD officers on their

proposed trial witness list for the likely purpose of testifying about the IA investigation, report and

findings: Adrian Troy, Jeffrey Walcott, and Commissioner William Gross.

   II.      Argument
         The IA reports and findings are inadmissible for two fundamental reasons: they consist

primarily, if not exclusively, of hearsay; and they are not admissible pursuant to Rule 803(8)

because they are untrustworthy as they were prepared without procedural safeguards and in

anticipation of trial by biased BPD officers with a motive to insulate the BPD and City from

liability in the pending civil litigation brought by Gavin. Finally, the records are also not

admissible as ‘business records’ pursuant to Rule 803(6).

         1. The IA reports and findings consist of inadmissible hearsay.
         It is well-established that hearsay within police reports is inadmissible. See Damon v

Hukowicz, 964. F. Supp.2d 120, 126 n.2 (D. Mass. 2013); Nna v. American Standard, Inc., 630

F.Supp.2d 115, 125 (D.Mass.2009); Barth v. City of Peabody, 2019 WL 2525475, *3 n.9 (D. Mass.

2019) (excluding witness statements in police investigative report as hearsay).



whether there is even a proper foundation for the admission of the IA reports and findings. Plaintiff
can make the referenced IA documents available for in camera inspection for the Court.
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       Further, while the IA reports do not constitute admissible governmental reports pursuant

to Rule 803(8), as discussed below, that rule still would not allow for the admissibility of hearsay

in the IA reports even if it did apply. See Lewis v. Velez, 149 F.R.D. 474, 487 (S.D.N.Y. 1993)

(Rule 803(8) “does not circumvent the hearsay rule; any double hearsay contained in a report is

admissible only if each level of hearsay qualifies independently for a hearsay exception”). The

witness statements to IA constitute hearsay. And the opinions and findings of the BPD officers in

IA, and ultimately the BPD Commissioner who endorsed the IA findings, are double hearsay as

they are out-of-court statements based on hearsay from police witnesses’ statements offered to

prove that Hayes and the City did not discriminate or retaliate, and that Gavin engaged in improper

conduct in her dealings with Hayes. Accordingly, these documents and any testimony seeking to

introduce them (or their contents) must be excluded. See id., at 489 (if police report consists solely

of hearsay, then remaining findings are not admissible where they reflect primary issue or issues

before jury).

       2. The IA reports and findings are not admissible pursuant to FRE 803(8).
       Pursuant to Rule 803(8), investigative reports in which “factual findings” are made may be

admissible, but only if trustworthy. See Beech Aircraft Corp. v. Rainey, 488 U.S. 153, 167 (1988);

Lubanski v. Coleco Industries, Inc., 929 F.2d 42, 45 (1st Cir. 1991);2 Velez, supra, at 487-489.

Trustworthiness is measured based on at least four factors: 1) the timeliness of the investigation

and report such that evidence is properly preserved; 2) the special skill or experience of the

reporter; 3) whether a hearing with ‘procedural safeguards’ was provided to ensure the integrity of




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   The Beech Aircraft and Lubanski decisions are distinguishable from the present case in that they
do not concern a police investigation of the police’s own misconduct, but rather investigations into
a third party’s conduct. Hence, the critical trustworthiness factor in determining admissibility was
very different in those cases.
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the findings; and (4) whether there exists ‘reason to suspect bias’ on the part of the reporter. Velez,

supra, at 487-488.       The evaluation of these factors and the ultimate determination of

trustworthiness is left to the sound discretion of the trial judge. Beech Aircraft, supra, at 167;

Velez, supra, at 488.

         Here, even if the IA reports were not based on inadmissible hearsay,3 they would not be

admissible because these ‘trustworthiness’ factors all weigh against admission of this IA evidence.

         a. The IA reports and findings are untrustworthy as biased because prepared in
            anticipation of litigation.
         First, and most importantly, the IA evidence is not admissible because it is biased. One of

the primary and most common indicators of bias is whether the report was prepared in the context

of civil litigation against the reporter or their employer. Velez, supra, at 488 (“By bias the courts

and the Advisory Committee refer principally to reports compiled in anticipation of litigation.”).

Where a report is prepared in anticipation of litigation by one who has a reason to try to “exculpate

himself or his employer,” such a report lacks trustworthiness as there exists “strong motivation on

the part of the defendants to try to clear themselves of wrongdoing.” See Velez, at 488, citing

Hoffman v. Palmer, 129 F.2d 976, 991 (2d Cir. 1942), aff’d, 318 U.S. 109 (1943). Where there is

potential liability for police officers, the police department and the city which employs them, a

police investigation report about alleged police misconduct is often deemed biased and, thus,

inadmissible. See Velez, supra, at 489; Kokoska v. City of Hartford, 2014 WL 4724875, *4 (D.

Conn. 2014) (“given the self-interest of the officers involved in the incident” and of their

supervisor who wrote one of the reports, the police investigation reports of possible excessive force

“excluded as untrustworthy”); see also Gross v. King David Bistro, Inc., 84 F. Supp.2d 675, 678




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    As discussed above, this rule applies to non-hearsay factual findings. See Velez, supra, at 487.
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(D. Md. 2000) (state health department report concerning cause of alleged bacterial poisoning of

party attendees deemed “not trustworthy” and inadmissible because the investigators’ conclusion

was “primarily based on interviews with the party hosts” who “with the possibility of future

litigation…were interested and biased witnesses”), citing Faries v. Atlas Truck Body Mfg. Co., 797

F.2d 619 (8th Cir.1986) (holding that a police report that relied primarily on the account of an

interested witness was inadmissible under Rule 803 because it was untrustworthy).

       The IA investigation was commenced after Gavin filed her MCAD Complaint against the

City and Hayes. The IA reports and findings were completed nearly two years later, after Gavin

had filed her Complaint in court. The BPD Command Staff and IA officers were undoubtedly

motivated to protect themselves and their reputations as a police department that does not

discriminate or retaliate and to protect their employer, the City, from liability arising from Gavin’s

claims. Because of this bias, the IA reports and findings are not trustworthy and should be

excluded.

       b. The IA reports and findings are untrustworthy because they are untimely.

       A second factor that courts consider in evaluating the admissibility of a police investigation

report is timeliness. Velez, supra, at 487. Here, the reports with recommended findings were not

finalized until January 30, 2018, and the final findings were not issued until July 2019 – nine

months and two years, respectively, after Gavin filed her formal complaint against Hayes with the

BPD. There was no reason for such a long delay except for the strong likelihood that the BPD and

City were affected by the pending litigation both at the MCAD and then in this Court. The reports

and findings have been used as a cudgel to pressure Gavin to resolve the litigation. Notably, the

BPD and City still have not issued any discipline to Gavin more than two year after the IA findings,

indicating again that they are measuring their moves based on the impact on the litigation and their

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potential liability. See Docket No. 117-5, Affidavit of Donna Gavin, ¶ 6. And Gavin would appeal

the IA charges, but as stated in her previously filed Affidavit, she is unable to appeal until

discipline is rendered. Id. All of that underscores the untrustworthiness of the process and the

result.

          c. The lack of any hearing further undercuts the trustworthiness of the IA reports
             and findings.
          Another factor that courts review to evaluate the trustworthiness of a governmental

investigative report is whether the government conducted a hearing with appropriate ‘procedural

safeguards’ to ensure the integrity of the report and its findings. See Velez, supra, at 488. Here,

the BPD and City did not provide a hearing, which means the IA report and findings were produced

without any meaningful cross-examination and the ultimate decision-maker – the BPD

Commissioner -- never heard directly from the witnesses, but instead merely relied on the written

report of “findings” from a junior officer.

          d. The police agents who conducted the investigation and prepared the report and
             findings do not have any known special skills or experience regarding
             discrimination and retaliation claims, and the IA is not even trusted by the
             Mayor’s own Police Reform Task Force.
          The fourth factor that courts consider in evaluating the trustworthiness of a governmental

investigative report is whether the reporter has any special skills or experience relevant to the issue

under investigation. See Velez, supra, at 487. The issues here are whether Hayes discriminated,

created a hostile work environment and retaliated against Gavin. None of the IA officers who

prepared the reports and findings have any known skill or experience in assessing such issues.

Indeed, Mayor Walsh’s own Boston Police Reform Task Force concluded that the BPD is not

equipped to investigate allegations of disparate treatment of its own officers. See Task Force

Reform Report (attached hereto at Exhibit A), Recommendations 1.01 (a-d) and 1.02 (c), at pp. 1,


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3-5 (recommending creation of new Office of Police Accountability and Transparency with

enhanced supervisor and oversight power, including subpoena power to call witnesses and compel

production of documents, to review and, if appropriate, reject IA findings, with particular focus on

disparate treatment of officers including in IA discipline matters). The City’s own Reform Task

Force doubts the trustworthiness of IA disciplinary proceedings, especially when they involve

allegations of discrimination.4

         In sum, the IA reports and findings are demonstrably untrustworthy based on the four

factors courts typically use to evaluate the admissibility of an investigative report pursuant to Rule

803(8). Therefore, the Court should find that the IA reports and findings are not admissible

pursuant to that Rule.

         3. The IA reports and findings are also not admissible as ‘business records.’
         Finally, the IA reports and findings are not admissible as ‘business records’ pursuant to

FRE 803(6). Police investigative reports and other investigative reports where the business is

motivated to skew the report to protect itself from liability do not constitute ‘business records.’

See Velez, supra, at 486, citing Bracey v. Herringa, 466 F.2d 702, 704 & n.4 (7th Cir. 1972)

(corrections officers’ reports of prisoner beatings do not fit Rule 803(6) exception). The Supreme

Court, in Palmer v. Hoffman, excluded records of a railroad accident that were prepared by railroad

personnel. 318 U.S. 109, 113 (1943). As the Supreme Court reasoned, an accident report is not

“typical of entries made systematically or as a matter of routine to record events….[T]he fact that

a company makes a business out of recording its employees’ versions of their accidents does not

put those statements in the class of records made ‘in the regular course of the business….” Id.¸ at

113. As discussed by the Court in Velez, the Supreme Court “noted that such an expansive


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    Numerous pages of the IA reports are also redacted rendering them even more untrustworthy.
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interpretation of ‘business records’ would result in the admission of self-serving records of any

incident for which an organization could foresee liability, as long as the records were made

pursuant to some sort of regular recording system.” Velez, supra, at 486, discussing Palmer v.

Hoffman, 318 U.S. at 113-114. “Furthermore, hearsay is not admissible under Rule 803(6) where

the reliability of the materials in question is undermined.” See id. As discussed previously, the

reliability of the IA reports and findings is very much in doubt. Therefore, the Court should not

admit these records as ‘business records.’

                                        CONCLUSION
       For these reasons, the Court should allow Plaintiff Donna Gavin’s motion in limine to

exclude the IA reports and findings offered by Defendants as exhibits and should bar any witness

from testifying about such reports and findings or any subsequent discipline that the City and BPD

may now seek to impose on Gavin on the eve of or during trial.

                                             Respectfully submitted,

                                             DONNA GAVIN

                                             By her attorneys,


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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(2)

        Undersigned counsel hereby certifies that counsel for Plaintiff, Donna Gavin, and counsel
for Defendants, City of Boston and Mark Hayes, have conferred on September 23, 2021, to resolve
the issues presented in this Motion. Opposing counsel have indicated that they will not assent to
the relief Plaintiff is seeking in this Motion.



                                                    /s/ Nicholas Carter
                                                    Nicholas B. Carter, Esq.




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2021, a copy of the foregoing was served upon
counsel of record through the Court’s e-filing system.


                                                    /s/ Nicholas Carter
                                                    Nicholas B. Carter, Esq.




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